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                                                           Controlling Organizations by Institution
              PLAINTIFF                   UNIVERSITY              TITLE IX COMPLAINT   SUBMISSION DATE   EXEMPTION GRANTED   CONTROLLING ORGANIZATION*
Jonathan Jones               Azusa Pacific University                    YES               7/27/21              NO                      NO
Justin Tidwell-Davis         Baylor University                           YES               7/27/21              YES                     NO
Jake Picker                  Baylor University                           YES               7/27/21              YES                     NO
Veronica Bonifacio Penales   Baylor University                           YES               7/27/21              YES                     NO
Elizabeth Hunter             Bob Jones University                        YES               7/27/21              YES                     NO
Chandler Horning             Brigham Young University - ID               YES               7/27/21              YES                     YES
Ashtin Markowski             Brigham Young University - UT               YES               7/27/21              YES                     YES
Brooke C.                    Cedarville University (College)             YES               7/27/21              YES                     NO
Gary Campbell                Clark's Summit (Baptist Bible)              YES               7/27/21              YES                     NO
Saren Craig                  College of the Ozarks                       YES               7/27/21              YES                     NO
Journey Mueller              Colorado Christian University               YES               8/2/21               YES                     NO
Consolata Bryant             Covenant Christian Academy                  NO                   -                  -                       -
Devin Bryant                 Covenant Christian Academy                  NO                   -                  -                       -
Lauren Hoekstra              Dordt University (College)                  YES               7/27/21              YES                     NO
Avery Bonestroo              Dordt University (College)                  YES               7/27/21              YES                     NO
Faith Millender              Eastern University                          YES               7/27/21              NO                      NO
Joanna Maxon                 Fuller Theological Seminary                 YES               7/27/21              NO                      NO
Darren McDonald              Fuller Theological Seminary                 YES               7/27/21              NO                      NO
Nathan Brittsan              Fuller Theological Seminary                 YES               7/27/21              NO                      NO
Jaycen Montgomery            George Fox University                       NO                   -                 YES                     YES
Audrey Wojnarowisch          George Fox University                       YES               7/27/21              YES                     YES
Danielle Powell              Grace University                             -                   -                  -                       -
Mortimer Halligan            Indiana Wesleyan University                 YES               6/23/21              YES                     YES
Louis James                  Indiana Wesleyan University                 YES               7/30/21              YES                     YES
Cameron Martinez             La Sierra University                        YES               7/27/21              NO                      NO
Daniel Tidwell-Davis         Lee University (College)                    YES               7/27/21              YES                     NO
Lucas Wilson                 Liberty University                          YES               7/27/21              YES                     NO
Mackenzie McCann             Liberty University                          YES               7/27/21              YES                     NO
Victoria Joy Bacon           Lipscomb University                         YES               7/27/21              NO                      NO
Rachel Held                  Messiah University                          YES               7/27/21              NO                      NO
Megan Steffen                Moody Bible Institute                       YES               7/27/21              NO                      NO
Zayn Silva                   Nyack College                               NO                   -                 NO



   EXHIBIT R                                                                                                                                             1
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Tristan Campbell                   Oklahoma Baptist University                     YES                  7/27/21                     YES                            YES
Jamie Lord;                        Regent University (School of Law)               YES                  7/27/21                     NO                             NO
Spencer J. Vigil                   Seattle Pacific University                      YES                  7/27/21                     NO                             NO
Natalie Carter                     Toccoa Falls College                            YES                  7/27/21                     YES                            NO
Alex Duron                         Union University                                YES                  7/27/21                     YES                            YES
Scott McSwain                      Union University                                YES                  7/27/21                     YES                            YES
Darren McDonald                    Westmont College                                YES                  7/27/21                     NO                             NO
Hayden Brown                       York College                                    YES                  7/27/21                     YES                            YES


      * Based on an intitial review of publicly available information, the colleges/universities deemed not to have a controlling religious organization appear to be independent
                                      institutions that are not owned by, and whose boards are not contollred by, a religious organization/church




   EXHIBIT R                                                                                                                                                                        2
